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 5
     Attorney for Plaintiff
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 7
 8                              UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10
11   MOHAMMAD AL-RAMAHI, individually and          Case No. 4:22-cv-03118-HSG
     on behalf of all others similarly situated,
12                                    Plaintiff,
                                                   PLAINTIFF’S NOTICE OF
                                                   VOLUNTARY DISMISSAL
13          v.                                     WITHOUT PREJUDICE
14   BANK OF AMERICA, N.A.,                        Hon. Haywood S Gilliam, Jr.
15
                                      Defendant.
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     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
     CASE NO. 4:22-cv-03118-HSG
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 1          NOTICE IS HEREBY GIVEN that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff

 2   Mohammad Al-Ramahi voluntarily dismisses his individual claims in this action without prejudice

 3   against Defendant.

 4   Dated: July 12, 2022                Respectfully submitted,
 5
                                         BURSOR & FISHER, P.A.
 6
                                         By: /s/ L. Timothy Fisher
 7                                               L. Timothy Fisher
 8                                       L. Timothy Fisher (State Bar No. 191626)
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     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                              1
     CASE NO. 4:22-cv-03118-HSG
